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                                                                                                  E-FILED
                                                                     Tuesday, 25 May, 2021 09:05:49 AM
                                                                          Clerk, U.S. District Court, ILCD

                            UNITED STATES DISTRICT COURT
                            CENTRAL DISTRICT OF ILLINOIS
                                ROCK ISLAND DIVISION

UNITED STATES OF AMERICA,                             )
                                                      )
               Plaintiff,                             )
                                                      )
       v.                                             )   Case No. 08-40049
                                                      )
TERASENCE STEVEN MITTEN,                              )
                                                      )
               Defendant.                             )

                                   ORDER AND OPINION

       This matter is now before the Court on Defendant’s pro se Motion for Early Termination

of Supervised Release. (ECF No. 50). For the reasons stated below, his Motion is DENIED.

                                         BACKGROUND

       On November 19, 2008, Defendant pleaded guilty to possession with intent to distribute

cocaine base (Count 1). (ECF No. 52 at 2). Following a jury trial, Defendant was convicted of

possessing a firearm in furtherance of his drug trafficking crime (Count 2). (ECF No. 18). On

March 23, 2009, the Court sentenced Defendant to a total of 180 months of imprisonment followed

by eight years of supervised release. (ECF No. 29).

       On March 22, 2019, following a motion pursuant to the First Step Act, the Court reduced

Defendant’s sentence to 132 months followed by six years of supervised release. (ECF No. 45 at

2-3). The sentence reduction resulted in his immediate release and the commencement of

supervised release.

       On April 6, 2021, Defendant filed a Motion for Early Termination of Supervised Release

and requested the Court to appoint counsel. (ECF No. 50). The Court directed the Government to
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file a response. The Government filed its Response in opposition to the Defendant’s Motion on

May 24, 2021. (ECF No. 52). This Order follows.

                                             DISCUSSION

        After considering the factors set forth in 18 U.S.C. § 3553(a), a court may terminate

supervised release “at any time after the expiration of one year of supervised release . . . if it is

satisfied that such action is warranted by the conduct of the defendant released and the interest of

justice.” 18 U.S.C. § 3583(e)(1).

        The Government and the U.S. Probation Office for the Central District of Illinois object to

early termination due to Defendant’s minimal time under supervision and because safety measures

implemented during the COVID-19 pandemic resulted in limited in-person oversight of

Defendant. (ECF No. 52 at 3). During the last two years of supervision, Defendant has maintained

employment and a home address; he has not tested positive for drugs; and he has not been arrested

for new offenses. Id. Defendant’s criminal history includes convictions for armed drug trafficking,

theft (three convictions), obstruction, and battery. Id. On two previous occasions, Defendant

committed new law violations while under court supervision and faced at least one revocation

petition for a failure to abide by terms of supervision. Id. (citing PSR ¶ 36-39).

        After consideration of the various factors outlined in 18 U.S.C. § 3553, this Court finds

that early termination is not warranted nor is it in the interest of justice at this time. Defendant has

served approximately two years of his six-year term of supervised release. While the Court

commends Defendant for complying with the conditions of his supervised release, the Court finds

that he would continue to benefit from additional supervision, especially due to his criminal

history. Moreover, Defendant’s current supervision, which consists of quarterly reporting, is not
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overly burdensome. Therefore, his request for the assistance of counsel and for the early

termination of his supervised release is DENIED.

                                        CONCLUSION

       For the reasons stated above, Defendant’s Motion for Early Termination of Supervised

Release [50] is DENIED.

       ENTERED this 25th day of May, 2021.


                                                   s/ Michael M. Mihm
                                                   Michael M. Mihm
                                                   United States District Judge
